      Case: 6:21-cr-00041-CHB-HAI Doc #: 66 Filed: 12/21/21 Page: 1 of 2 - Page ID#: 182

                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION AT LONDON
                           CRIMINAL MINUTES-ARRAIGNMENT AND PLEA

Case No. 6:21-CR-41-S-CHB-HAI- 5               At: London                    Date December 21, 2021

U.S.A. vs Daniel Kelly       X present X custody          OR         AGE

DOCKET ENTRY: Defendant arraigned on Indictment and advised of all constitutional rights. The United
States Probation Office advised that the issue of pretrial detention is not ripe in light of pending state charges,
and Defendant agreed. Accordingly, the Court defers the detention issue. If and when Defendant chooses to
seek release, he may file a proper motion, and the Court will promptly schedule a detention or status hearing.

Pursuant to the Due Process Protections Act, the court reminds the government of its obligations under Brady
v. Maryland, 373 U.S. 83 (1963), to disclose evidence favorable to the defendant and material to the
defendant's guilt or punishment. The government is ordered to comply with Brady and its progeny. The
failure to do so in a timely manner may result in consequences, including dismissal of the indictment or
information, exclusion of government evidence or witnesses, adverse jury instructions, dismissal of charges,
contempt proceedings, sanctions by the Court, or any other remedy that is just under the circumstances.


PRESENT: HON. HANLY A. INGRAM, U.S. MAGISTRATE JUDGE

          Amanda Ramsey          Audio File Number            Jason Parman for W. Samuel Dotson
           Deputy Clerk           Court Reporter                  Assistant U.S. Attorney

I, Amanda Ramsey, Deputy Clerk, CERTIFY the official record of this proceeding is an audio file
KYED-LON_6-21-CR-41-CHB-HAI-5_20211221_133706.

Counsel for Deft Bryan Sergent           X present        retained    X appointed

PROCEEDINGS: INITIAL APPEARANCE AND ARRAIGNMENT

X      Copy of Indictment/Information given to the defendant.

X      Defendant states true name is as it appears on the indictment.

X      Ordered Bryan Sergent is appointed Attorney under the Criminal Justice Act. The Court has
       reviewed Defendant=s affidavit which establishes CJA eligibility.

X      Defendant waived formal arraignment and was advised of his/her rights pursuant to Rule 10,
       F.R.Cr.P. Court stated substance of charges and advised Defendant of possible penalties.

X      Defendant waives reading of Indictment-Information             Indictment-Information read.

X      Defendant pleads      Guilty to Counts              X Not guilty to all counts.

X      Assigned for jury trial before Judge Claria H. Boom on February 8, 2022 at 9:00 a.m. Counsel to
       be present at 8:30 a.m. The anticipated length of trial is 5 days.

X      This matter will be assigned for an evidentiary hearing before Magistrate Judge Hanly A. Ingram
       if any motions are filed which require a hearing.
      Case: 6:21-cr-00041-CHB-HAI Doc #: 66 Filed: 12/21/21 Page: 2 of 2 - Page ID#: 183


X      The Court verified that the United States was pursuing appropriate notification of potential
       victim(s), per 18 U.S.C. ' 3771.

X      Defendant remanded to the custody of the U.S. Marshal pending further orders of this Court.

       Defendant released pursuant to the terms and conditions set forth in the Order Setting Conditions
       of Release.

       US Probation Office directed to prepare and circulate the Pretrial Services Report to counsel via
       email. The Pretrial Reports are not public record, are not to be reproduced or disclosed to any
       other party, and shall remain confidential as required by 18 U.S.C. ' 3153(c)(1). Counsel shall
       either return the pretrial services report prepared by the United States Probation Office to the
       USPO, or shall permanently delete/destroy all copies thereof (such as electronic copies in an inbox
       or sent mail folder).


Copies: COR, USP, USM, LON CD, LON JC


Initials of Deputy Clerk: apr

    TIC: 8 mins.
